                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                       CIVIL ACTION NO. 3:20-CV-00476-GCM
 JANE O'NEILL,

                Plaintiff,

    v.                                                          ORDER

 OPEN WATER ADVENTURES INC,
 HEATHER GAYDESKI,
 JOSEPH GAYDESKI,
 DILLON MATTHEWSON,

                Defendants.


         THIS MATTER IS BEFORE THE COURT on the Motions for Admission Pro Hac

Vice concerning David G. Concannon (Doc. No. 10) and Matthew T. Charles (Doc. No. 11).

         Upon review and consideration of the Motions, which were accompanied by submission

of the necessary fees, the Court hereby GRANTS the Motions.

         In accordance with Local Rule 83.1(b), Mr. David G. Concannon and Mr. Matthew T.

Charles are admitted to appear before this court pro hac vice on behalf of Defendants Open Water

Adventures, Inc., Joseph Gaydeski, Heather Gaydeski, and Dillon Matthewson.

         SO ORDERED.


                                          Signed: November 9, 2020




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